Case: 1:18-cv-05405 Document #: 80 Filed: 06/14/19 Page 1 of 2 PagelD #:3662

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

LEVISTRAUSS & CO.,
Plaintiff,
Vv.
2014SHOES, et al.,

Defendants.

 

 

EASTERN DIVISION

Case No. 18-cv-05405
Judge Andrea R. Wood

Magistrate Judge Jeffrey Cole

SATISFACTION OF JUDGMENT

WHEREAS, a judgment was entered in the above action on November 6, 2018 [58], in

favor of Plaintiff Levi Strauss & Co. (“LS&Co.”) and against the Defendants Identified in

Schedule A in the amount of one million dollars ($1,000,000) per Defaulting Defendant for

willful use of counterfeit LEVI’S Trademarks in connection with the offer for sale and/or sale of

products through at least the Defendant Internet Stores, and LS&Co. acknowledges payment of

an agreed upon damages amount, costs, and interest and desires to release this judgment and

hereby fully and completely satisfy the same as to the following Defendants:

 

 

 

 

 

Defendant Name Line Nos.
angelfairy 5
Mami King 129

 

THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.

 
Case: 1:18-cv-05405 Document #: 80 Filed: 06/14/19 Page 2 of 2 PagelD #:3663

Dated this 14th day of June 2019. Respectfully submitted,

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‘Amy C. Ziegfe offer

Justin R. Gaudio

RiKaleigh C. Johnson

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Counsel for Plaintiff Levi Strauss & Co.

Subscribed and sworn to me by RiKaleigh C. Johnson, on this 14th day of June 2019.

Given under by hand and notarial seal.

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